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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA

               -against-                                                 VERDICT SHEET
                                                                         19 CR 576 (S-1) (BMC)
GENARO GARCIA LUNA,

                              Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X



Count Two (International Cocaine Distribution Conspiracy)

Verdict on Count Two:

         Guilty ______                                   Not Guilty ______

         Answer the following question only if you have found the defendant guilty of this
         count.

                   Has the government proved beyond a reasonable doubt that the offense
                   involved five kilograms or more of cocaine?

                            Yes ______                             No ______



Count Three (Cocaine Distribution and Possession Conspiracy)

Verdict on Count Three:

         Guilty ______                                   Not Guilty ______

         Answer the following question only if you have found the defendant guilty of this
         count.

                   Has the government proved beyond a reasonable doubt that the offense
                   involved five kilograms or more of cocaine?

                            Yes ______                             No ______
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Count Four (Cocaine Importation Conspiracy)

Verdict on Count Four:

      Guilty ______                      Not Guilty ______

      Answer the following question only if you have found the defendant guilty of this
      count.

             Has the government proved beyond a reasonable doubt that the offense
             involved five kilograms or more of cocaine?

                    Yes ______                  No ______



Count One (Engaging in a Continuing Criminal Enterprise)

Verdict on Count One:

      Guilty ______               Not Guilty ______

      Answer the following question only if you have found the defendant guilty of this
      count.

      Indicate below which three or more offenses you have unanimously found beyond a
      reasonable doubt were part of a continuing series:

             Count Two

                    Proven ______               Not Proven ______

             Count Three

                    Proven ______               Not Proven ______

             Count Four

                    Proven ______               Not Proven ______

             Violation One (International Distribution of Cocaine – approximately 5,000
             kilograms – September 13, 2008)

                    Proven ______               Not Proven ______


                                            2
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             Violation Two (International Distribution of Cocaine – approximately 23,000
             kilograms – October 30, 2007)

                    Proven ______               Not Proven ______

             Violation Three (International Distribution of Cocaine – approximately 19,000
             kilograms – March 18, 2007)

                    Proven ______               Not Proven ______

             Violation Four (Distribution of Cocaine – approximately 1,997 kilograms –
             January 28, 2003)

                    Proven ______               Not Proven ______

             Violation Five (Distribution of Cocaine – approximately 1,925 kilograms –
             August 16, 2002)

                    Proven ______               Not Proven ______

             Violation Six (Distribution of Cocaine – approximately 1,923 kilograms –
             May 24, 2002)

                    Proven ______               Not Proven ______



Count Five (Making a False Statement)

Verdict on Count Five:

      Guilty ______                      Not Guilty ______




Dated: Brooklyn, New York
       March __, 2023             ______________________
                                  Foreperson




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